                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:11-cr-27
v.                                                    )
                                                      )       MATTICE / LEE
RONALD HARDY                                          )



                             REPORT AND RECOMMENDATION



       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on July 12, 2011. At

the hearing, defendant moved to withdraw his not guilty plea to Count One of the sixteen-count

Superseding Indictment and entered a plea of guilty to Count One of the Superseding Indictment,

in exchange for the undertakings made by the government in the written plea agreement. On the

basis of the record made at the hearing, I find the defendant is fully capable and competent to enter

an informed plea; the plea is made knowingly and with full understanding of each of the rights

waived by defendant; the plea is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; the defendant understands the nature of the charge

and penalties provided by law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Superseding Indictment be granted, his plea of guilty to Count One of the Superseding

Indictment be accepted, the Court adjudicate defendant guilty of the charges set forth in Count One

of the Superseding Indictment, and a decision on whether to accept the plea agreement be deferred

until sentencing. I further RECOMMEND defendant remain in custody until sentencing in this



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matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.


                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




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